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                11 COMMUNICATIONS, INC., AND
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                12 VERIZON WIRELESS
                13
                                            UNITED STATES DISTRICT COURT
                14
                                          SOUTHERN DISTRICT OF CALIFORNIA
                15
                16
                   CARUCEL INVESTMENTS, L.P., a                    NO. 3:16-CV-00118-H-KSC
                17 Delaware limited partnership,
                                     Plaintiff,                    DEFENDANTS’ OPPOSITION TO
                18                                                 CARUCEL’S DAUBERT MOTION
                         v.                                        REGARDING DR. DEFOREST
                19                                                 MCDUFF
                   NOVATEL WIRELESS, INC., a
                20 Delaware corporation, VERIZON
                   COMMUNICATIONS, INC., a Delaware
                21 corporation, CELLCO PARTNERSHIP
                   D/B/A VERIZON WIRELESS, a
                22 Delaware general partnership,
                23
                                         Defendants.
                24
                25
                                             [PUBLIC REDACTED VERSION]
                26
                27
                28
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                  1 I.        INTRODUCTION
                  2           Carucel’s damages claim has now swollen to $45 million based on a per unit
                  3 royalty rate of $8 for each Accused Product. This per-unit royalty exceeds what
                  4 Novatel pays                 for a license to thousands of fundamental patents on
                  5 wireless communication. The only way Carucel can credibly advance that figure in
                  6 front of the jury is by convincing the Court to throw out the mountain of evidence
                  7 demonstrating the absurdity of Carucel’s claim—the fact that Carucel’s only prior
                  8 license netted a relatively paltry             from a substantially larger accused
                  9 infringer, the fact that Novatel has never paid or received anything close to that
                10 amount for MiFi-related licenses, and the fact that only a small fraction of MiFi
                11 users utilize Carucel’s invention.1 All of this evidence is laid out and analyzed in
                12 the rebuttal damages report of Defendants’ expert, Dr. DeForest McDuff.
                13            Dr. McDuff’s report is an entirely conventional damages analysis based on
                14 well-established principles of law, widely accepted methodologies, and undeniably
                15 relevant evidence. Dr. McDuff presents four different damages models, based on
                16 the evidence Carucel wants to sweep under the rug—one model based on usage
                17 statistics and apportionment principles, and three based on license agreements
                18 entered into by the parties in this case. Each model is closely tied to the facts of this
                19 case, based on sound methodology, and deserves to be heard by the jury.
                20            Carucel finds fault with Dr. McDuff’s analysis by mischaracterizing his
                21 opinions, misstating the law, and criticizing Dr. McDuff’s supposed “failure” to
                22 meet requirements that simply do not exist. Carucel also repeatedly asks the Court
                23 to make new law—to become the first Court to exclude a defense expert for
                24 apportioning too much, for example, or to find that a license involving the patents-
                25 in-suit is somehow not comparable. In the end, Carucel does not provide this Court
                26
                27
                          1
                28            Since this Opposition relates to damages, it assumes a finding of infringement.
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                  1 with any basis to prevent the jury from considering Dr. McDuff’s opinions.
                  2 Carucel’s motion should be denied.
                  3 II.     LEGAL STANDARD
                  4         An expert witness may provide opinion testimony if: (1) “the testimony is
                  5 based upon sufficient facts or data;” (2) “the testimony is the product of reliable
                  6 principles and methods; and” (3) “the expert has reliably applied the principles and
                  7 methods to the facts of the case.” FED. R. EVID. 702; see also Daubert v. Merrell
                  8 Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993). Under Daubert, the trial court is
                  9 limited to a gatekeeping role and must be sure that its review of expert testimony
                10 focuses “solely on principles and methodology, not on the conclusions that they
                11 generate.” Daubert, 509 U.S. at 592–94, 596; see also i4i Ltd. P’ship v. Microsoft
                12 Corp., 598 F.3d 831, 854 (Fed. Cir. 2010) (“Daubert and Rule 702 are safeguards
                13 against unreliable or irrelevant opinions, not guarantees of correctness.”).
                14          Moreover, “estimating a reasonable royalty is not an exact science,” Summit
                15 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1296 (Fed. Cir. 2015), and
                16 “necessarily involves an element of approximation and uncertainty.” Lucent Techs.,
                17 Inc. v. Gateway, Inc., 580 F.3d 1301, 1336 (Fed. Cir. 2009). Thus, if the expert’s
                18 “methodology is sound, and the evidence relied upon [is] sufficiently related to the
                19 case at hand, disputes about the degree of relevance or accuracy . . . may go to the
                20 testimony’s weight, but not its admissibility.” i4i, 598 F.3d at 852.
                21 III.     FACTUAL BACKGROUND
                22          Dr. McDuff’s damages analysis is based on the Georgia-Pacific factors and
                23 hypothetical negotiation framework. Dr. McDuff’s analysis is grounded in two
                24 widely recognized principles of patent damages law: (1) that licenses for
                25 comparable technology are informative of how the parties would value the patents-
                26 in-suit in a hypothetical negotiation, and (2) the ultimate royalty must be
                27 apportioned to exclude value that is not associated with the claimed invention.
                28 Summit 6, 802 F.3d at 1297-98; Lucent, 580 F.3d at 1334; LaserDynamics, Inc. v.
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                  1 Quanta Computer, Inc., 694 F.3d 51, 78-79 (Fed. Cir. 2012). Accordingly, Dr.
                  2 McDuff provides four primary damages models—one based on apportionment
                  3 principles, and three others based on comparable licenses—which lead him to
                  4 conclude the appropriate royalty range is between $74,573 and $250,000:2
                  5
                  6
                  7
                  8
                  9
                10
                11
                             A.    Dr. McDuff’s Apportionment Methodology
                12
                13           Dr. McDuff applied a two-step apportionment to the royalty base to account

                14 for functionality that is unrelated to the patents-in-suit. First, he reduced the royalty
                15 base according to the percentage of MiFi use that occurs while the user and device
                                                                                3
                16 are in transit (“Relevant Use Apportionment”). (McDuff Report ¶¶ 45e, 71a,
                17 Attachment D-1.) Second, Dr. McDuff compared the price of later models of the
                18 accused products to the original MiFi 2200 in order to account for the value of non-
                19 infringing features added to later models (“Price-Based Apportionment.”) Each step
                20 is discussed below.
                                1.     Dr. McDuff’s Relevant Use Apportionment
                21
                22        Dr. McDuff’s Relevant Use Apportionment seeks to tie the royalty base to the

                23 economic value of Carucel’s invention—a movable base station with multiple
                24 antennas that is constructed to move with users at high speeds. Accordingly, Dr.
                25
                         2
                26       As indicated in the chart below, Dr. McDuff also provides three models based
                   on adjustments and corrections to Dr. Kennedy’s analysis .
                27    3
                         The McDuff Report is attached as Exhibit 1 to the Declaration accompanying
                28 Plaintiff’s Daubert motion.
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                  1 McDuff looked at statistics showing how often MiFi users may actually be capable
                  2 of utilizing this capability. Dr. McDuff primarily relies on Verizon usage
                  3 statistics—collected by Verizon in the ordinary course of its business—showing the
                  4 number of cell cites recorded during each MiFi session. Due to practical constraints
                  5 — Verizon’s servers are set up to store usage data for only 8 days — the reports
                  6 generated by Verizon were limited two 24-hour periods in two cities (Dallas and
                  7 Philadelphia) with high commuter rates. Despite these restrictions, the Verizon data
                  8 provided a sample size of nearly          sessions. In consultation with Dr. Kenney
                  9 and Verizon engineers, Dr. McDuff determined that connecting to four or more cell
                10 towers indicated MiFi use while in transit, because users in densely populated areas
                11 frequently connect with two or three cell towers even while stationary. The Verizon
                12 usage statistics show that only        of MiFi sessions were during transit, and thus
                13 Dr. McDuff apportions the royalty base accordingly. Because             represents the
                14 time MiFi is capable of being used in transit, Dr. McDuff uses this apportionment
                15 factor to calculate the high-end royalty under his apportionment methodology.
                16          As a secondary method of estimating the percentage of MiFi use while in
                17 transit, Dr. McDuff relies on certain studies published by the Bureau of Labor and
                18 Statistics, the U.S. Census Bureau, and the Department of Transportation. Using
                19 these surveys, Dr. McDuff identifies the percentage of time spent traveling for work
                20 or recreation. He then factors out the travel time where the sole occupant of a
                21 vehicle is the driver, based on the assumption that drivers would be far less likely to
                22 use a MiFi device while operating a vehicle. Based on these surveys, Dr. McDuff
                23 determines that the relevant use case would represent 0.078% of overall work and
                24 recreation time. Dr. McDuff uses this apportionment factor (0.078%) to calculate
                25 the low-end royalty under his apportionment methodology.
                26                2.     Dr. McDuff’s Price-Based Apportionment
                27          Dr. McDuff’s Price-Based Apportionment is intended to further account for
                28 the value of non-infringing features added to MiFi products over time. Later models
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                  1 include a wide variety of features that were not present in the original MiFi 2200—
                  2 the MiFi 6620L, for example, boasts an LCD display, support for up to 15 client
                  3 devices, and dramatic improvements in security and connection speeds. Dr. McDuff
                  4 apportions the value of these later-added features by comparing the price of the
                  5 MiFi 2200 to the price of more recent models. This leads to an apportionment factor
                  6 ranging between 0% and 41%, depending on the year. (McDuff Report Attachment
                  7 D-1.) The Price-Based Apportionment is multiplicative—but not duplicative—of
                  8 the Relevant Use Apportionment because all MiFi models have uses that are not
                  9 relevant to the patents-in-suit, and all MiFi models (excluding MiFi 2200) have non-
                10 infringing features that were later added. Dr. McDuff’s two-step apportionment
                11 ensures that the royalty base is more closely tied to the value of Carucel’s invention.
                12           A.     Dr. McDuff’s Analysis of Comparable Licenses
                13           The parties produced 19 licenses in this case.4 Based on extensive
                14 discussions with Dr. Kenney, as well as his own economic expertise, Dr. McDuff
                15 identifies eight of these licenses as comparable:
                16           Carucel-Gogo Settlement. Dr. McDuff applies the Georgia-Pacific factors to
                17 the               settlement that Carucel obtained from Gogo, Inc. In connection with
                18 Georgia-Pacific factors 9 and 10, Dr. McDuff identifies a crucial distinction
                19 between Gogo’s products and the accused MiFi products—whereas MiFi devices
                20 are only used in transit         of the time, Gogo’s products are used in transit 100%
                21 of the time. Because Gogo’s products utilize the patented invention in every use
                22 case, he does not apply any apportionment along the lines of the Relevant Use
                23 Apportionment he applied with respect to Novatel. Thus, Dr. McDuff compares the
                24                royalty to Gogo’s revenues prior to the settlement and identifies an
                25
                26
                27       4
                        Additional licenses were produced in connection with Dr. McDuff’s
                28 Supplemental Report, which is the subject of other motion practice.
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                  1 implied royalty rate of 0.075%, which he then applies to the apportioned royalty
                  2 base for Novatel’s products.
                  3         Novatel “In” Licenses. Novatel produced 12 agreements in which it is the
                  4 licensee. With one exception—Novatel’s license to Qualcomm’s entire CDMA
                  5 patent portfolio—these agreements license a small number of patents for a lump
                  6 sum royalty of                     . Dr. McDuff briefly discusses each Novatel “in”
                  7 license, but he only relies on three agreements:
                  8                Novatel-Golden Bridge Technology Inc.: executed in 2012, lump
                  9                   sum royalty of          ;
                10                 Novatel-EON Corp. IP Holdings LLC: executed in 2013, lump sum
                11                    royalty of          ;
                12                 Novatel-MLR, LLC: executed 2005,                  royalty.
                13 Dr. McDuff relies on these three agreements because Dr. Kenney identified them as
                14 covering comparable technology, and Dr. McDuff himself determined that they
                15 were economically comparable to the hypothetical negotiation in this case. Dr.
                16 McDuff concludes that these licenses support a royalty of $250,000.
                17          Novatel “Out” Licenses. In 2013, Novatel assigned its MiFi-related patent
                18 portfolio to third party Nova Intellectual Solutions, LLC. Nova produced six
                19 licenses in this case, which provide for royalties ranging from                       .
                20 Dr. McDuff relies on four of the six licenses—Nova’s licenses with Sharp, Franklin
                21 Wireless, Sony, and Blackberry—and discards the remaining two based on his
                22 analysis that the agreements are not economically comparable. More specifically,
                23 Dr. McDuff excluded Nova’s license with ZTE because it covered far more than just
                24 WiFi products, and also chose not to rely on Nova’s license with RPX Corp.
                25 because of its unique circumstances as a patent clearinghouse. After excluding
                26 these two agreements, Dr. McDuff identifies a royalty range of $75,000 - $175,000
                27 and concludes (based on the Georgia-Pacific factors) that the appropriate amount
                28 would be “the low end of the range . . . and no more than the midpoint of $125,000.”
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                  1 IV.        ARGUMENT
                  2            A.    Dr. McDuff’s Apportionment Is Firmly Grounded In Accepted
                                     Methodology5
                  3
                               Dr. McDuff did exactly what the case law says experts should do when
                  4
                        calculating a reasonable royalty for a product with infringing and non-infringing
                  5
                        functionality—he apportioned the royalty so that it is based on the value of the
                  6
                        claimed invention, and excluded the value of uses and functionalities that are not
                  7
                        attributable to Carucel’s invention. As the Federal Circuit has recognized, the
                  8
                        “essential requirement” of apportionment is “that the ultimate reasonable royalty
                  9
                        award must be based on the incremental value that the patented invention adds to the
                10
                        end product.” Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir.
                11
                        2014; see also VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1327 (Fed. Cir. 2014)
                12
                        (“estimate what portion of the value of that product is attributable to the patented
                13
                        technology.”). Dr. McDuff meets that requirement in two steps, apportioning the
                14
                        royalty base to exclude (1) the value of MiFi use that is not attributable to Carucel’s
                15
                        invention, and (2) the value of unpatented features added to the accused MiFi
                16
                        products over time. In short, Dr. McDuff presents a garden-variety apportionment
                17
                        analysis based on reliable data and well-established legal principles. Carucel’s
                18
                        Daubert attacks on that analysis should be denied.
                19
                                     1.     Dr. McDuff’s Relevant Use Apportionment Properly Ties the
                20                          Royalty Base to the Value of the Claimed Invention
                21             Carucel asserts that Dr. McDuff’s apportionment for relevant use is based on
                22 an incorrect assumption that MiFi devices only infringe when used at high speeds.
                23
                           5
                24             Carucel points to two instances where Dr. McDuff’s reports were partially
                        excluded in other cases. Both of these orders are irrelevant to any of the issues in
                25      this case. Dr. McDuff’s exclusion in Omega v. Calamp related to apportionment via
                26      a “word count methodology” and “bargaining methods,” neither of which were used
                        in this case. In Cohen v. Trump, the court’s decision did not relate to the
                27      applicability of the surveys, but rather to the sufficiency of Dr. McDuff’s
                28      explanation regarding one aspect of his conclusions.
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                  1 Dr. McDuff makes no such assumption. Rather, his apportionment is based on the
                  2 actual economic contribution of the patents-in-suit and the recognition that use
                  3 while in transit is “the only scenario where [the invention] derives its value.” (See
                  4 McDuff Report, ¶ 86a.) Carucel did not invent base stations or multiple antenna
                  5 structures on base stations—Carucel itself has readily admitted as much.6 Instead,
                  6 Carucel invented a base station with multiple antennas that is designed for use at or
                  7 near the speed of traffic. Apportioning the royalty base so that it reflects the
                  8 economic contribution of the patents-in-suit, in order to exclude usage that is
                  9 unrelated to Caurcel’s contribution to the art, is necessary in order to “tie proof of
                10 damages to the claimed invention’s footprint in the market place.” ResQNet.com,
                11 Inc. v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir. 2010).
                12             In essence, Carucel argues that McDuff should be excluded for apportioning
                13 too much—that the royalty base must be the entire market value of the accused
                14 devices because the claims are directed to a device that is “configured to” work in
                15 traffic. (Mot. at 5.) Courts have specifically rejected Carucel’s argument that the
                16 royalty base must be the entire value of the accused product where the claims are
                17 directed to the entire device. See, e.g., GPNE Corp. v. Apple, Inc., No. 12-CV-
                18 02885-LHK, 2014 WL 1494247, at *12 (N.D. Cal. Apr. 16, 2014). In GPNE, the
                19 defendant’s damages expert used the value of a specific chip as the royalty base,
                20 which the patentee alleged was improper because “the patent claims are directed to
                21 the entire [iPhone] device, not just the chip.” Id. at *11. The court rejected this
                22 argument, noting that the royalty base was tied to “the patent’s contribution to the
                23
                           6
                24              See Declaration of Bruce R. Zisser, Ex. 1 (Gavrilovich Dep. Tr.) at 115:4-24
                        (“Q. Did your father invent antenna diversity? A. Antenna diversity by itself . . . No.
                25      . . . Q. And do you believe he invented antenna diversity on a base station? . . . A.
                26      Are you asking if on a base – you know, antenna diversity on a base station may
                        have been in a prior art.”); id., Ex. 2 (Kennedy Dep. Tr.) at 41:23-42:1 (“Q. Do you
                27      know if the inventor invented antenna diversity? A. . . . [I]t’s my nontechnical
                28      understanding that he did not.”).
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                  1 art.” The court further reasoned that to hold otherwise would “allow patent drafters
                  2 to effectively abolish the [EMVR]” by “drafting patent claims to cover end
                  3 products” and “recite generic . . . limitations.” Id. at *12-13; see also Emerson Elec.
                  4 Co. v. Suzhou Cleva Elec. Appliance Co., No. 4:13CV1043SPM, 2015 WL
                  5 8916113, *3-6 (E.D. Mo. Dec. 15, 2015) (excluding patentee’s expert who based
                  6 royalty on value of the overall vacuum instead of the novel caster feature, and
                  7 rejecting patentee’s argument that no apportionment was needed because the claims
                  8 literally covered the entire vacuum).
                  9         Furthermore, Carucel fails to cite a single decision where the defendant’s
                10 damages expert was excluded for apportioning “too much.” Carucel may believe
                11 that Dr. McDuff understated the value of its invention by apportioning the royalty
                12 base according to the percentage of use while moving, but that is a factual dispute it
                13 may address through cross-examination. See, e.g., Finjan, Inc. v. Blue Coat Sys.,
                14 Inc., No. 13-CV-03999-BLF, 2015 WL 4272870, at *6 (N.D. Cal. July 14, 2015)
                15 (rejecting motion to exclude expert who had apportioned based on use of the
                16 patented feature, holding that “Plaintiff’s assertions that the analysis does not
                17 include all patents or claim elements that it asserts are infringed . . . are more
                18 appropriately subjects for cross-examination”).
                19          Finally, Carucel’s contention that Dr. McDuff erred in apportioning the
                20 “royalty base” instead of the “royalty rate” clearly has it backwards. The whole
                21 purpose of apportionment is to “produce a royalty base . . . closely tied to the
                22 claimed invention,” VirnetX, 767 F.3d at 1327 (Fed. Cir. 2014) (emphasis added),
                23 and for years the Federal Circuit took the position that apportioning the royalty rate
                24 was insufficient under the entire market value rule. Uniloc USA, Inc. v. Microsoft
                25 Corp., 632 F.3d 1292, 1320 (Fed. Cir. 2011) (“The Supreme Court and this court’s
                26 precedents do not allow consideration of the entire market value of accused products
                27 for minor patent improvements simply by asserting a low enough royalty rate.”); see
                28 also LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67 (Fed. Cir.
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                  1 2012). The Federal Circuit only recently indicated that applying a low-enough
                  2 royalty may, in some cases, satisfy the apportionment requirement—but it did
                  3 nothing to suggest that such an approach was required. Ericsson, 773 F.3d at 1226.
                  4                  2.    Dr. McDuff Does Not “Double Count” Apportionment
                  5           Carucel’s cursory argument that Dr. McDuff “double apportions” is not
                  6 supported by any authority, or even much explanation. Dr. McDuff performed his
                  7 apportionment in two steps—a Relevant Use Apportionment to account for usage
                  8 that is not related to the economic value of the invention, and a Price-Based
                  9 Apportionment to account for non-infringing functionality Novatel has added to
                10 MiFi products over the years. Stated differently, a MiFi 6620L device has both (1)
                11 limited relevant use and (2) non-infringing functionality that was not present in the
                12 original MiFi 2200, and thus both a use-based apportionment and price-based
                13 apportionment are appropriate for this product. See, e.g., Summit 6, 802 F.3d at
                14 1296 (approving multi-step apportionment, one step based on component cost and
                15 another based on user statistics show the frequency of infringing use).
                16                   3.    Dr. McDuff Is More Than Qualified To Opine On the Value of
                                           Carucel’s Invention
                17
                              Carucel’s attack on Dr. McDuff’s qualifications to rely on user statistics and
                18
                        government reports is misguided. Federal Rule of Evidence 702 permits expert
                19
                        testimony so long as the expert “is qualified by knowledge, skill, experience,
                20
                        training, or education” and possesses specialized knowledge that “will help the trier
                21
                        of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702.
                22
                        Dr. McDuff is an expert on intellectual property damages, having been retained as
                23
                        an expert in more than 80 cases and qualified as such at trial in nearly a dozen cases.
                24
                        While Dr. McDuff does not have “experience in the transportation industry,” that is
                25
                        utterly beside the point because he is not opining on “transportation patterns.” (Mot.
                26
                        at 7.) Instead, Dr. McDuff is valuing the economic contribution of Carucel’s
                27
                        claimed invention—something he is undoubtedly qualified to do.
                28
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                  1         The statistics underlying Dr. McDuff’s Relevant Use Apportionment fall
                  2 squarely within his purview as an economist. It is well-settled that experts may
                  3 testify about what documents reveal and whether they are relevant to their ultimate
                  4 opinions in a case. See Presidio Components, Inc. v. Am. Tech. Ceramics Corp.,
                  5 702 F.3d 1351, 1360 (Fed. Cir. 2012); Oracle Am., Inc. v. Google Inc., No. C 10-
                  6 03561 WHA, 2011 U.S. Dist. LEXIS 136172, at *7 (N.D. Cal. Nov. 28, 2011)
                  7 (allowing expert damages testimony where expert relied on technical background
                  8 documents relevant to damages analysis). The Federal Circuit has held that
                  9 “frequency of expected use and predicted value” are relevant to Georgia–Pacific
                10 factor 11, which concerns “[t]he extent to which the infringer has made use of the
                11 invention; and any evidence probative of the value of that use.” Lucent,, 580 F.3d
                12 at 1324. Accordingly, Dr. McDuff analyzed the frequency of MiFi use in transit
                13 (the use that is relevant to Carucel’s invention) based on the types of evidence—user
                14 statistics and reports prepared by the Bureau of Labor Statistics and U.S. Census
                15 Bureau—that are regularly used by economists.
                16                4.     User Statistics Are a Reliable Basis For Estimating Relevant Use
                17          “[S]urvey evidence should ordinarily be found sufficiently reliable under
                18 Daubert,” because “[u]nlike novel scientific theories, a jury should be able to
                19 determine whether asserted technical deficiencies undermine a survey’s probative
                20 value.” Sentius Int’l, LLC v. Microsoft Corp., No. 5:13-CV-00825-PSG, 2015 WL
                21 331939, at *2 (N.D. Cal. Jan. 23, 2015) (admitting survey and related testimony
                22 despite expressing “significant concerns about both the structure of the survey and
                23 the way in which it was conducted,” because such criticisms “go to the weight, and
                24 not the admissibility, of the survey.”). Dr. McDuff’s Relevant Use Apportionment
                25 is based on a staggering volume of data—nearly             real-life MiFi sessions.
                26 Courts routinely admit survey evidence based on far smaller samples. See, e.g., i4i,
                27 598 F.3d at 855 (district court did not abuse its discretion in admitting expert’s
                28 testimony on damages based in part on a survey with a sample size of 46 total
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                  1 respondents). Even assuming the Verizon data contains flaws—and Carucel has not
                  2 identified any specific flaw, aside from attorney argument—those concerns are a
                  3 matter for cross examination, not exclusion.
                  4         Dr. McDuff did not, as Carucel asserts, merely adopt Verizon’s opinions as
                  5 his own. In addition to relying on Dr. Kenney and Verizon engineers for the
                  6 technical elements related to the collection and interpretation of the data, Dr.
                  7 McDuff performed his own assessment of the reliability and representativeness of
                  8 the data based on his experience and knowledge as an economist. This included an
                  9 analysis of the appropriate time period (e.g., days of the week, the extent to which
                10 the data may be influenced by seasonality) and the selected locations (commuting
                11 patterns and the rates of commuting by car or train). He utilized the data collected
                12 by Verizon but performed his own calculation of the confidence intervals associated
                13 with the data, which led him to conclude that the sample was more than sufficient to
                14 permit “statistically valid conclusions about the percentage of the relevant use case.”
                15 (McDuff Report at ¶ 45a(i).) In any event, courts have permitted defense experts to
                16 calculate damages based on usage statistics supplied by the accused infringer. See,
                17 e.g., Finjan, 2015 WL 4272870 at *6.
                18          Carucel baldly asserts that the dataset is not representative, but it makes no
                19 attempt to actually point to specific flaws. Importantly, Dr. McDuff provided
                20 Carucel with the formula needed to calculate confidence intervals, and yet Carucel
                21 apparently chose not to do so. Had Carucel actually performed the calculation, they
                22 would have realized what Dr. McDuff already knew based on his expertise—that
                23 confidence intervals for a binomial distribution require just a few hundred data
                24 points, whereas the user statistics relied on by Dr. McDuff provide tens of thousands
                25 of data points. Dr. McDuff’s recognition that the percentage of relevant use
                26 “[c]ould [] be a couple of percentage points higher or . . . lower” is hardly
                27 surprising, since every survey and sampling methodology entails a certain degree of
                28
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                  1 imprecision. Carucel fails to explain why or how any imprecisions in the Verizon
                  2 data are so egregious as to warrant exclusion under Daubert.
                  3           Carucel’s other criticisms of Dr. McDuff’s analysis of the data amount to
                  4 nitpicking, and at best raise issues for cross-examination. First, the fact that data
                  5 was collected after the damages period is irrelevant because the “book of wisdom”
                  6 permits experts to rely on data post-dating the hypothetical negotiation, and Carucel
                  7 has pointed to no good reason to believe that MiFi usage today is different than it
                  8 was during the damages period. Finally, as Dr. McDuff explains in his report, his
                  9 focus on sessions involving four or more towers is necessary to accurately determine
                10 use in transit—in densely populated areas, users may connect to three base stations
                11 by traveling less than a half-mile. In any event, Carucel has the raw data, and thus it
                12 is perfectly capable of cross-examining Dr. McDuff on how his damages
                13 calculations would change if he included sessions involving less than four towers.
                14                   5.    Dr. McDuff’s Reliance On Time Use Surveys Is Reasonable and
                                           Reliable
                15
                              As a secondary method of estimating the percentage of MiFi use while in
                16
                        transit, Dr. McDuff relies on studies published by reliable sources that are routinely
                17
                        relied upon by economists—i.e., the Bureau of Labor and Statistics, the U.S. Census
                18
                        Bureau, and the Department of Transportation. The fact that these documents don’t
                19
                        specifically relate to “mobile hotspot usage” has no bearing on whether Dr. McDuff
                20
                        may draw reasonable conclusions from data related to work and travel. The degree
                21
                        of specificity demanded by Carucel—e.g., that Dr. McDuff must have “data about
                22
                        how many [survey] participants owned or used wireless hotspots,” and “how often
                23
                        hotspots were used while engaged in various activities”—has no basis in law.
                24
                              Carucel’s remaining complaints are just a series of conjectures as to why the
                25
                        conclusions Dr. McDuff draws from the data may be inaccurate. Carucel may be
                26
                        correct that people use hotspots less frequently while at home, but does not explain
                27
                        why this would have a material affect on Dr. McDuff’s conclusions regarding time
                28
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                  1 spent traveling for work or recreation. Similarly, Carucel posits that some people
                  2 may actually use their MiFi devices while driving, but does not provide any
                  3 evidence that would suggest that is prevalent enough to render the time use studies
                  4 “useless.” Finally, the fact that a damages “methodology was not peer-reviewed or
                  5 published does not necessitate its exclusion.” Summit 6, 802 F.3d at 1298.
                  6                  6.    Dr. McDuff’s Price-Based Apportionment Properly Accounts
                                           For the Value of Later-Added Non-Infringing Functionality
                  7
                              Plaintiff’s claim that Dr. McDuff “violated” the entire market value rule is
                  8
                        based on a clear misunderstanding of the EMVR. The EMVR prohibits a party—
                  9
                        invariably the patentee—from basing the royalty on the entire value of the accused
                10
                        products, except in the rare circumstances that the patented feature creates the basis
                11
                        for demand for the product. Uniloc, 632 F.3d at 1318–21. Dr. McDuff’s royalty is
                12
                        not based on the entire market value of the accused products—Carucel does not
                13
                        claim otherwise. Thus, his Price-Based Apportionment does not violate the EMVR.
                14
                              Contrary to Plaintiff’s contention, the EMVR does not mandate a single
                15
                        “correct methodology,” or prevent experts from apportioning based on something
                16
                        other than specific components. To the contrary, “under th[e] apportionment
                17
                        principle, there may be more than one reliable method for estimating a reasonable
                18
                        royalty,” Commonwealth Sci. & Indus. Research Organisation v. Cisco Sys., Inc.,
                19
                        809 F.3d 1295, 1301 (Fed. Cir. 2015) (quotation marks omitted), and courts have
                20
                        approved a wide variety of apportionment methodologies. See, e.g., Droplets, Inc.
                21
                        v. Overstock.com, Inc., No. 2:11-CV-401-JRG-RSP, 2015 WL 11120843, at *2
                22
                        (E.D. Tex. Jan. 7, 2015) (apportionment based on survey regarding relative
                23
                        importance of infringing features of defendants’ websites); Ultimatepointer, LLC v.
                24
                        Nintendo Co., Ltd., No. C14-0865RSL, 2014 WL 7340545, *7-*8 (W.D. Wash.
                25
                        Dec. 22, 2014) (rejecting challenge to defendant’s damages expert on the ground
                26
                        that he did not use the “smallest saleable unit,” and permitting the expert to
                27
                        apportion based on “certain commercial, non-technical attributes,” including
                28
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                  1 “market share, brand recognition, reputation, retail network, etc.”); PerdiemCo, LLC
                  2 v. Industrack LLC, No. 2:15-CV-726-JRG-RSP, 2016 WL 6611488, at *2 (E.D.
                  3 Tex. Nov. 9, 2016) (apportionment based on costs of designing around). Simply
                  4 put, there is no support for Carucel’s assertion that apportionment must be based on
                  5 a technical opinion related to specific components at the BOM level.
                  6            Furthermore, the manner in which Dr. McDuff accounts for non-infringing
                  7 functionality is squarely within his expertise as an economist—by analyzing product
                  8 prices. He compares the price of the MiFi 2200—the first product with the
                  9 allegedly infringing features and the product the parties have agreed to treat as a
                10 representative product for purposes of infringement—to the prices of later models in
                11 order to determine the value of added functionality. (McDuff Report, ¶¶ 45e, 71,
                12 Attachments C-3, D-1). Carucel fails to identify a single flaw with this analysis.
                13 Instead, it criticizes Dr. McDuff for effectively attributing 100% of the MiFi 2200 to
                14 the patented functionality, which is simply not true—McDuff apportions out 92.5%
                15 of the value of the MiFi 2200 based on the Relevant Use Apportionment, he simply
                16 does not further apply a Price-Based Apportionment to that product. And while
                17 Carucel may be right that pricing differentials may reflect “factors wholly unrelated
                18 to the underlying technology,” this only underscores the fact that the product value
                19 beyond the price differentials must be apportioned out of the royalty base.7
                20             B.    Dr. McDuff’s Analysis of the Gogo Settlement Is Proper
                21             Dr. McDuff’s analysis of the Gogo settlement does not violate the EMVR.
                22 Carucel once again fails to cite any authorities in support of its argument, and
                23
                24         7
                              Carucel criticizes McDuff for not applying a price-based apportionment to the
                25      MiFi 2200. At the outset, this only works in Carucel’s favor. More importantly, Dr.
                26      McDuff’s primary apportionment is based on relevant use; the price-based
                        apportionment is applied solely to account for the value of features (e.g., improved
                27      GUIs, LCD displays, support for multiple client devices) which are clearly beyond
                28      the scope of Carucel’s patents.
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                  1 Defendants have been unable to locate a single case where a defense expert was
                  2 precluded from opining on a patentee’s prior license due to a supposed failure to
                  3 apportion. In fact, courts have held that prior licenses involving the patents-in-suit
                  4 “inherently allocate value” to the patented method and therefore do not implicate the
                  5 EMVR. See, e.g., In re Maxim Integrated Prods., Inc., No. 12-945, 2015 WL
                  6 5311264, *6-*12 (W.D. Pa. Sept. 11, 2015). The fact that the Gogo settlement
                  7 “may not be perfectly analogous . . . generally goes to the weight of the evidence,
                  8 not its admissibility.” PerdiemCo, 2016 WL 6611488 at *2-*4.
                  9         Furthermore, there is no inconsistency between Dr. McDuff’s treatment of the
                10 Gogo settlement and his treatment of the Novatel hypothetical negotiation. Dr.
                11 McDuff does not apply a Relevant Use Apportionment to the Gogo settlement
                12 because Gogo’s products—unlike Novatel’s products—can only be used when
                13 moving at high speeds. Thus, a Relevant Use Apportionment is appropriate with
                14 respect to Novatel, but not Gogo.
                15          C.    Dr. McDuff’s Analysis of Comparable Novatel Licenses Is Closely
                                  Tied to the Facts of the Case
                16
                17          Dr. McDuff took a standard economic approach to the licenses under the
                18 Georgia-Pacific factors. He first determined which agreements involved
                19 comparable technology, based on technical considerations from Dr. Kenney and his
                20 own economic assessments. (McDuff Report, ¶¶ 55a-55l, 56, 58-60.) He then
                21 evaluated the comparable licenses using a wide variety of Georgia-Pacific factors,
                22 including (a) technological value based on discussions with Dr. Kenney, (b) the
                23 products licensed under the agreements, (c) the similarity in time periods, and (d)
                24 the identity of the licensee and licensor and the commercial relationship between
                25 them. Dr. McDuff did not blindly rely on all licenses, only those which he
                26 determined were comparable—three of the 12 Novatel “in-licenses” and four of the
                27 six Novatel “out” licenses. He identified a royalty range supported by each group of
                28 licenses and selected a specific royalty from each range based on his assessment of
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                  1 comparability and application of the Georgia-Pacific factors. Carucel advances
                  2 several criticisms of McDuff’s analysis, but none of them have merit.
                  3         First, while Carucel is right that Dr. McDuff does not make specific
                  4 quantitative adjustments to the royalty of any particular agreement, the reason is
                  5 simple—he determined the agreements were sufficiently comparable that no
                  6 adjustments were necessary. Carucel may disagree with that conclusion, but that is
                  7 no basis for exclusion under Daubert. See ActiveVideo Networks, Inc. v. Verizon
                  8 Commc’ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012) (holding that “the degree of
                  9 comparability of the . . . . agreements as well as any failure on the part of
                10 ActiveVideo’s expert to control for certain variables are factual issues best
                11 addressed by cross examination and not by exclusion.”) (citation omitted).
                12          Second, while Carucel identifies a handful of distinctions between certain
                13 licenses and the hypothetical negotiation, it never explains why any of these
                14 distinctions are material. For example, Carucel faults Dr. McDuff for “failing” to
                15 account for the fact that the Novatel-MLR license predates the hypothetical
                16 negotiation by four years, even though Carucel’s own damages expert based his
                17 damages calculation on a settlement executed more than four years after the
                18 hypothetical negotiation—without making any “adjustments” based on that fact. Cf.
                19 2-Way Computing, Inc. v. Sprint Solutions, Inc., No. 2:11-cv-12, 2015 WL 2365648,
                20 *3-*5 (D. Nev. May 18, 2015) (denying motion to exclude expert testimony on
                21 comparable licenses because the movant failed to show reasons why the differences
                22 in the license agreements were material to the expert’s damages analysis).
                23          Third, Carucel cites no support for its claim that damages experts must
                24 identify specific products covered by a comparable license, much less “establish the
                25 quantity or value of the products.” (Mot. at 17.) More importantly, Carucel is
                26 simply wrong to assert that Dr. McDuff failed to consider the scope of the products
                27 covered by the Novatel licenses. While Carucel appears to concede that the Novatel
                28 “in” licenses presumably include all of the accused products, it inexplicably insists
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                  1 Dr. McDuff must “provide . . . technical analysis” rather than rely on commonsense
                  2 inferences and the plain language of the licenses. Similarly, with respect to
                  3 Novatel’s “out” licenses, the licensees are manufacturers of competing mobile
                  4 hotspot devices—Franklin Wireless, ZTE, Sharp, etc. Dr. McDuff was entitled to
                  5 rely on the assumption that the licenses include at least mobile hotspots—and in the
                  6 one instance where he identified a license that is significantly broader than the
                  7 hypothetical license in this case (the Nova-ZTE license, which covers smartphones
                  8 and tablets in addition to hotspots), he specifically accounted for that difference.
                  9          Finally, Carucel’s complaint that Dr. McDuff “arbitrarily” chose the median
                10 or average of each group of Novatel licenses (Mot. at 17-18) borders on the absurd.
                11 The standard approach for selecting a data point from a range of values is to use the
                12 median or average. There is no data point that would be any less “arbitrary.”
                13 V.        CONCLUSION
                14           For the foregoing reasons, Defendants respectfully request that Carucel’s
                15 motion be denied in its entirety.
                16
                        Dated: March 20, 2017         QUINN EMANUEL URQUHART
                17                                    & SULLIVAN, LLP
                18
                19                                    By: /s/ Amar L. Thakur
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